                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GUILFORD COLLEGE, et al.,
                         Plaintiffs,
       v.                                   Civil Action No. 1:18-cv-00891-LCB-JEP
KIRSTJEN NIELSEN, et al.,
                        Defendants.




                       NOTICE OF SPECIAL APPEARANCE

      Ishan K. Bhabha and the law firm of Jenner & Block LLP hereby give notice of

their appearance as counsel of record for proposed amici curiae Adler University,

Amherst College, Arizona State University, Barnard College, Bennington College,
Boston University, Brown University, Bucknell University, California Community
Colleges Board of Governors, California Institute of Technology, Case Western Reserve

University, Christian Brothers University, Clark University, Columbia University,
Cornell College, Cornell University, Dartmouth College, Drexel University, Duke
University, Eastern Michigan University, Emerson College, Emory University, Franklin
& Marshall College, George Washington University, Georgetown University, Gettysburg

College, Goucher College, President and Fellows of Harvard College, Illinois Institute of
Technology, Macalester College, Manhattanville College, Massachusetts Institute of

Technology, Menlo College, Middlebury College, Mills College, Mount Holyoke
College, New York University, Northeastern University, Northwestern University, The
Pennsylvania State University, Pomona College, Princeton University, Rhode Island




      Case 1:18-cv-00891-LCB-JEP Document 34 Filed 01/24/19 Page 1 of 4
School of Design, Rhodes College, Rice University, Rochester Institute of Technology,
Roosevelt University, Rutgers University-Newark, Sarah Lawrence College, Smith

College, Southeastern University, Stanford University, Swarthmore College, Trinity
Washington University, Tufts University, University of Denver (Colorado Seminary),
University of Michigan, University of Pennsylvania, University of San Diego, University
of Southern California, University of Utah, Vanderbilt University, Washington

University in St. Louis, Wellesley College, Williams College, and Yale University. The
undersigned respectfully requests that any future pleadings be served upon him.

      This notice of appearance is made pursuant to, and in compliance with, Local Rule

83.1(d) for the appearance of attorneys by special appearance in the Middle District of
North Carolina.


Dated: January 24, 2019                      Respectfully submitted,

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      Case 1:18-cv-00891-LCB-JEP Document 34 Filed 01/24/19 Page 2 of 4
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Case 1:18-cv-00891-LCB-JEP Document 34 Filed 01/24/19 Page 3 of 4
                            CERTIFICATE OF SERVICE
      I hereby certify that on January 24, 2019, I electronically filed the foregoing
Notice of Special Appearance with the Clerk of the Court for the United States District

Court for the Middle District of North Carolina by using the CM/ECF system, which will
automatically serve electronic copies upon all counsel of record.

Dated: January 24, 2019                       Respectfully submitted,

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      Case 1:18-cv-00891-LCB-JEP Document 34 Filed 01/24/19 Page 4 of 4
